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CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.

JS 44C/SDNY
REV. 06/01/17

PLAINTIFFS

: DEFENDANTS
HUMANE CONSUMER LLC

COB ECOMMERCE EMPIRE LLC d/b/a KEEVA ORGANICS, CRAWFORD
AND O'BRIEN LLC, CHARLES CRAWFORD, MICHAEL O'BRIEN and
AMAZON.COM, INC. .
ATTORNEYS (IF KNOWN)

Unknown :

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER
Paul W. Siegert; 307 Fifth Avenue, 4th Floor, New York, NY 10016

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSB
(DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

15 U.S.C. 1125(a), - deliberately and knowingly engage in commercial interstate acts of false advertising and misrepresentations

Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? Nof]YesC]

If yes, was this case Vol.[ ]Invol. [_] Dismissed. No [] Yes] Ifyes, give date

No Yes []
NATURE OF SUIT

& Case No.

IS THIS AN INTERNATIONAL ARBITRATION CASE?
(PLACE AN [x} IN ONE BOX ONLY)

TORTS ACTIONS UNDER STATUTES

CONTRACT

PERSONAL INJURY PERSONAL INJURY FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
[1807 HEALTHCARE! 375 FALSE CLAIMS
[1410 INSURANCE [ 1310 AIRPLANE PHARMACEUTICAL PERSONAL 1 } 625 DRUG RELATED [ 1422 APPEAL ix!
[ ]120 MARINE [S15 AIRPLANE PRODUCT INJURY/PRODUCT ABILITY ge7URE OF PROPERTY 28 USC 158 [ 1376 QUITAM
[1130 MILLER ACT LIABILITY { ]365 PERSONAL INJURY 21 USC Bat [ 1423 WITHDRAWAL [ 1400 STATE
[1140 NEGOTIABLE [ ]$20 ASSAULT, LIBEL & PRODUCT LIABILITY 1 1 699 OTHER 28 USC 157 REAPPORTIONMENT
INSTRUMENT SLANDER [ ]368 ASBESTOS PERSONAL [ ]410 ANTITRUST
[] 150 RECOVERY OF __[ ] 330 FEDERAL INJURY PRODUCT [ ]430 BANKS & BANKING
OVERPAYMENT & EMPLOYERS’ LIABILITY PROPERTY RIGHTS [ ]450 GOMMERCE
- ENFORCEMENT LIABILITY [ 1460 DEPORTATION
, OF JUDGMENT — | 1340 MARINE PERSONAL PROPERTY [ 1820 COPYRIGHTS { ]470 RACKETEER INFLU-
[ 1151 MEDICARE ACT [1 345 MARINE PRODUCT [ ]830 PATENT ENCED & CORRUPT
{ 1152 REGOVERY OF LIABILITY [ ]370 OTHER FRAUD ORGANIZATION ACT
DEFAULTED [ 1350 MOTOR VEHICLE [1871 TRUTHINLENDING —_‘/| 1835 PATENT-ABBREVIATED NEW DRUG APPLICATION (RICO)
STUDENT LOANS [ ] 355 MOTOR VEHICLE [ ]840 TRADEMARK | ]480 CONSUMER CREDIT
(EXCL VETERANS) PRODUCT LIABILITY SOCIAL SECURITY [1490 CABLE/SATELLITE TV
[ 1153 RECOVERY OF —_[ ] 360 OTHER PERSONAL
OVERPAYMENT. INJURY [ ]380 OTHER PERSONAL —s LABOR [ ] 861 HIA (1395Ff) [ 1850 SECURITIES/
OF VETERAN'S —[ 1362 PERSONAL INJURY - PROPERTY DAMAGE { ]862 BLACK LUNG (923) COMMODITIES/
BENEFITS MED MALPRACTICE [ ]385 PROPERTY DAMAGE _[ ]710 FAIRLABOR { ] 863 DIWC/DIWW (405(q)) EXCHANGE
[1160 STOCKHOLDERS PRODUCT LIABILITY STANDARDS ACT _[ } 864 SSID TITLE XVI .
SUITS [ 1720 LABOR/MGMT { 1865 RSt (405(g))
[1190 OTHER PRISONER PETITIONS RELATIONS [ ]890 OTHER STATUTORY
CONTRACT [ }463 ALIEN DETAINEE [ ] 740 RAILWAY LABOR ACT ACTIONS
[ ] 195 CONTRACT [ 1810 MOTIONS TO I] 751 FAMILY MEDICAL FEDERAL TAX SUITS [ ]891 AGRICULTURAL ACTS
PRODUCT ACTIONS UNDER STATUTES VACATE SENTENCE LEAVE ACT (FMLA)
LIABILITY 28 USC 2255 [ }870 TAXES (U.S. Plaintiff or
[] 196 FRANCHISE CIVIL RIGHTS [ 1530 HABEAS CORPUS [ 1790 OTHER LABOR Defendant) [ 1893 ENVIRONMENTAL
, [ ]535 DEATH PENALTY LITIGATION { ] 874 IRS-THIRD PARTY MATTERS
[ ]540 MANDAMUS & OTHER = [ ]791 EMPL RET ING 26 USC 7609 895 FREEDOM OF
[1440 NowPiooneye os SECURITY ACT (ERISA) nee NFORMATION ACT
REAL PROPERTY 11441 VoTinG IMMIGRATION [ ] 896 ARBITRATION
[]210 LAND [ 1442 EMPLOYMENT PRISONER CIVIL RIGHTS I OCE ONS ew oR
CONDEMNATION — [ ]443 HOUSING/ [ 1462 NATURALIZATION GENCY DECISI
[ ]220 FORECLOSURE t 144s ASCOMMODATIONS [ 1550 CIVIL RIGHTS APPLICATION APPEAL OF AGENCY DECISION
[230 RENT LEASE & [ }555 PRISON CONDITION —_[ ] 465 OTHER IMMIGRATION
EJECTMENT DISABILITIES - [ 1560 CIVIL DETAINEE ACTIONS eee Sarre NATY oF
{ 1240 TORTS TO LAND EMPLOYMENT CONDITIONS OF CONFINEMENT : :
[ ]245 TORT PRODUCT =[ 1446 AMERICANS WITH
LIABILITY DISABILITIES -OTHER
{ ]290 ALL OTHER [ ]448 EDUCATION
REAL PROPERTY

Check if demanded in complaint:
DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y-
AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?

CHECK IF THIS IS ACLASS ACTION

UNDER F.R.C.P. 23 IF SO, STATE:
DEMAND $2:900,000 — oTHER JUDGE DOCKET NUMBER

Check YES only if demanded in complaint

JURY DEMAND: kl ves LNo NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form [H-32).
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(PLACE AN x IN ONE BOX ONLY) ORIGIN
IX] 1 Original C 2 Removed from C13 Remanded rT] 4 Reinstated or CJ 5 Transferred from []6 Multidistrict C17 Appeal to District
Proceeding State Court from Reopened (Specify District) Litigation Judge from
Appellate (Transferred) Magistrate Judge

Cc] a. all parties represented: §— Cou;t
[18 Mutidistrict Litigation (Direct File)
[-] b, Atleast one party

is pro se.
(PLACE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION IF DIVERSITY, INDICATE
[]1 U.S. PLAINTIFF [[]2 U.S. DEFENDANT 3 FEDERAL QUESTION . [4 DIVERSITY CITIZENSHIP BELOW.

(U.S. NOT A PARTY)

CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF PTF DEF PTF DEF

CITIZEN OF THIS STATE [11 []1 CITIZEN OR SUBJECT OF A L}13073 INCORPORATED and PRINCIPAL PLACE []5 []5
FOREIGN COUNTRY : OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE []2 []2 INCORPORATED or PRINCIPAL PLACE [ ]4[.]4 FOREIGN NATION [16 [16

OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)
Humane Consumer LLC

120 East 23rd Street

New York, NY 10010

(N.Y. County)

DEFENDANT(S) ADDRESS(ES) AND COUNTY (IES)

Cob Ecommerce Empire LLC, 1303 W 10th Street, Tempe, AZ 85281 (Maricopa County)
Crawford and O'Brien LLC, 1303 W 10th Street, Tempe, AZ 85281 (Maricopa County)
Charles Crawford, 6900 E Princess Drive, Unite 2195, Phoenix, AZ 85054-4120 (Maricopa)
Michael O'Brien, 1150 N 87th Place, Scottsdale,AZ 85257 (Maricopa County)
Amazon.com, Inc., 300 Deschutes Way SW, Ste. 304, Turnwater, WA 98501 (Thruston)

DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, | HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING. DEFENDANTS:

COURTHOUSE ASSIGNMENT
Thereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.

Check one: THIS ACTION SHOULD BE ASSIGNED TO: [[] WHITE PLAINS MANHATTAN

DATE 06/26/18  siGNATURE OF (ATTORNEY OF RECORD ADMITTED TO PRACTICE IN THIS DISTRICT

[} NO
. [x] YES (DATE ADMITTED Mo.Dec Yr. 1974)
RECEIPT # Attorney Bar Code # /
Magistrate Judge is to be designated by the Clerk of the Court.
Magistrate Judge Gorenstein is so Designated.

Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)

Clear Form Save Print
